Case 2:23-cv-07146-NJC-AYS           Document 46       Filed 01/15/25      Page 1 of 3 PageID #:
                                           1178




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK



 TOWN OF OYSTER BAY,

                 Plaintiff,

         v.                                          Civil Action No. 2:23-cv-07146-NJC-AYS

 NORTHROP GRUMMAN SYSTEMS
 CORPORATION,

                 Defendant.


   JOINT SUBMISSION REGARDING RECENT CORRESPONDENCE RELEVANT TO
     THE TOWN OF OYSTER BAY’S MOTION FOR PRELIMINARY INJUNCTION

        Counsel for Plaintiff Town of Oyster Bay (the “Town”) and Defendant Northrop Grumman

 Systems Corporation (“Northrop Grumman”) conducted a reasonable investigation and jointly

 submit this response to the Court’s January 14, 2025 Order requesting the parties file more recent

 correspondence relevant to the issues raised in the Town’s Preliminary Injunction (ECF No. 40).

        1.     Attached as Exhibit 1 is a true and correct copy of an email dated November 29,

2024 from Jason Pelton, Director of Remedial Bureau D at the New York State Department of

Environmental Conservation (“DEC”), addressed to Sarah Johnston, Assistant Geologist in the

Department of Remediation at the DEC, Jess LaClair, Environmental Engineer in the Department

of Remediation at the DEC, and Edward Hannon, Manager of Environmental Health and Safety

and Medical for Northrop Grumman, and Project Manager for Northrop Grumman’s remedial

activities related to what is historically known as the Grumman Aerospace – Bethpage Facility

Site.

                                                 1
Case 2:23-cv-07146-NJC-AYS            Document 46     Filed 01/15/25     Page 2 of 3 PageID #:
                                            1179



       2.     Attached as Exhibit 2 is a true and correct copy of an email dated December 13,

2024, from Joel Balmat, Principal Consultant at Verdantas, to Sarah Johnston at the DEC.

       3.     Attached as Exhibit 3 is a true and correct copy of an email dated December 17,

2024 from Sarah Johnston to Rich Poff, Senior Scientist at Verdantas.

       4.     Attached as Exhibit 4 is a true and correct copy of an email dated December 18,

2024, from Richard Lenz, Commissioner at the Town’s Department of Public Works to David

Shea, Environmental Engineer and Senior Vice President at Sanborn, Head, & Associates, Inc.,

and Phillip R. Sachs, P.E., Vice President, Water Supply at D&B Engineers and Architects.

       5.     Attached as Exhibit 5 is a true and correct copy of an email dated December 23,

2024 from Richard Lenz to Gregory Carman, Deputy Town Supervisor for the Town of Oyster

Bay, David Shea, and Phillip Sachs.

       6.     Attached as Exhibit 6 is a true and correct copy of an email dated December 24,

2024, from Jess LaClair to Edward Hannon and Sarah Johnston.

       7.     Attached as Exhibit 7 is a true and correct copy of an email dated December 31,

2024, from Jess LaClair to Edward Hannon.

       8.     Attached as Exhibit 8 is a true and correct copy of an email dated January 8, 2025,

from Sarah Johnston to Edward Hannon.

       9.     Attached as Exhibit 9 is a true and correct copy of an email dated January 10, 2025

from Richard Lenz to Gregory Carman.

       10.    Attached as Exhibit 10 is a true and correct copy of an email dated January 10,

2025 from Sarah Johnston to Edward Hannon, Jason Pelton, and Jess LaClair.




                                               2
Case 2:23-cv-07146-NJC-AYS          Document 46      Filed 01/15/25    Page 3 of 3 PageID #:
                                          1180



Dated: January 15, 2025

   /s/ J. Michael Showalter                       /s/ Grant Esposito

  Matthew F. Prewitt                              Grant J. Esposito
  J. Michael Showalter                            Robert J. Baehr
  Sonul Rao                                       Claire N. Abrahamson
  ARENTFOX SCHIFF LLP                             Proskauer Rose LLP
  1301 Avenue of the Americas, 42nd Floor         Eleven Times Square
  New York, NY 10019                              New York, New York 10036
  Phone: 312-258-5500
                                                  (212)969-3010
  Fax: 212.484.3900
                                                  gesposito@proskauer.com
  matthew.prewitt@afslaw.com
                                                  rbaehr@proskauer.com
  j.michael.showalter@afslaw.com
                                                  cabrahamson@proskauer.com
  sonul.rao@afslaw.com

                                                       and
  Russel Selman (pro hac vice)
  ARENTFOX SCHIFF LLP
  233 S. Wacker Drive, Suite 7100                 Mark A. Chertok
  Chicago, IL 60606                               Amy Cassidy
  Phone: 312.258.5500                             Daniel Goldberg-Gradess
  russell.selman@afs.com                          SIVE, PAGET & RIESEL, P.C.
                                                  560 Lexington Avenue, 15th Floor
                                                  New York, New York 10022
  Attorneys for Plaintiff                         (212) 421-2150
  Town of Oyster Bay, New York                    mchertok@sprlaw.com
                                                  acassidy@sprlaw.com
                                                  dgoldberg-gradess@sprlaw.com


                                                  Attorneys for Defendant
                                                  Northrop Grumman Systems Corporation




                                            3
